Case 1:15-cv-02441-LTB Document 3 Filed 11/09/15 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 15-cv-02441-GPG
(The above civil action number must appear on all future papers
  sent to the court in this action. Failure to include this number
  may result in a delay in the consideration of your claims.)

AWEYS MUHUNDIN,

       Plaintiff,

v.

[NO NAMED DEFENDANT],

       Defendants.


               ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


        Plaintiff, Aweys Muhundin, initiated this action on October 5, 2015, by submitting

a Letter (ECF No. 1) to the Court in which he complains about the conditions of his

confinement at the Park County jail in Fairplay, Colorado. As part of the Court=s review

pursuant to D.C.COLO.LCivR 8.1(b), the Court has determined that the documents are

deficient as described in this Order. Plaintiff will be directed to cure the following if he

wishes to pursue any claims in this Court in this action at this time. Any papers that

Plaintiff files in response to this Order must include the civil action number on this Order.

28 U.S.C. ' 1915 Motion and Affidavit:
(1) xx       is not submitted
(2)           is not on correct form
(3)           is missing certified copy of prisoner=s trust fund statement for the 6-month
              period immediately preceding this filing
(4)           is missing certificate showing current balance in prison account
(5)           is missing required financial information
(6)           is missing authorization to calculate and disburse filing fee payments
(7)           is missing an original signature by the prisoner
Case 1:15-cv-02441-LTB Document 3 Filed 11/09/15 USDC Colorado Page 2 of 2




(8)           is not on proper form
(9)           names in caption do not match names in caption of complaint, petition or
              habeas application
(10)   xx     other: Plaintiff may pay the $400 filing fee in lieu of filing a
              motion for leave to proceed in forma pauperis.

Complaint, Petition or Application:
(11) xx     is not submitted
(12)        is not on proper form
(13)        is missing an original signature by the prisoner
(14)        is missing page nos.
(15)        uses et al. instead of listing all parties in caption
(16)        names in caption do not match names in text
(17)        addresses must be provided for all defendants/respondents in ASection A.
            Parties@ of complaint, petition or habeas application
(18)        other:

Accordingly, it is

       ORDERED that if Plaintiff desires to proceed with this action at this time he shall

cure the deficiencies designated above within thirty (30) days from the date of this

Order. Any papers that Plaintiff files in response to this Order must include the civil

action number on this Order. It is

       FURTHER ORDERED that if Plaintiff fails to cure the designated deficiencies by

the court-ordered deadline, the action will be dismissed without further notice.

       DATED November 9, 2015, at Denver, Colorado.



                                                 BY THE COURT:

                                                  s/ Gordon P. Gallagher
                                                 United States Magistrate Judge




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